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                     UNITED STATES COURT OF APPEALS                         FILED
                            FOR THE NINTH CIRCUIT                            FEB 24 2021
                                                                        MOLLY C. DWYER, CLERK
                                                                          U.S. COURT OF APPEALS
FEDERAL HOME LOAN MORTGAGE                         No.   20-16145
CORPORATION, a corporation organized
and existing under the laws of the United          D.C. No. 3:19-cv-02099-RS
States of America, its assignees and/or            Northern District of California,
successors,                                        San Francisco

                 Plaintiff-Appellee,               ORDER

  v.

CHANHT REATREY KEO,

                 Defendant-Appellant,

and

JOHN ARAIZA; KENNETH
MCCALLISTER,

                 Defendants.

       The opening brief was due January 29, 2021. Appellant has failed to file the

opening brief or a motion for extension of time to do so. This appeal is dismissed

for failure to prosecute. See 9th Cir. R. 42-1.

       A copy of this order served on the district court shall, 21 days after the date

of this order, become the mandate of this court.




SSR/Pro Mo
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                                            FOR THE COURT:

                                            MOLLY C. DWYER
                                            CLERK OF COURT


                                            By: Sofia Salazar-Rubio
                                            Deputy Clerk
                                            Ninth Circuit Rule 27-7




SSR/Pro Mo                            2                                 20-16145
